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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

                                                )
                Jordan Vargas                   )               Case No: 17 C 180
                                                )
                v.                              )
                                                )               Judge Thomas M. Durkin
                                                )
                City of Chicago, et al          )
                                                )

                                               ORDER

       A status hearing is set for March 21, 2017 at 9:00 a.m. A joint status report is to be filed
on or before March 16, 2017.
                                         STATEMENT

         This order is being entered shortly after the filing of the Complaint. Counsel for plaintiff(s)
are ordered to deliver a copy of this order to each defendant in the same manner that process has
been or is being served on such defendant.
         There will be a status hearing - - “pretrial conference”, as that term is used in Fed. R. Civ.
P. (“Rule”) 16(b) - - at 9:00 a.m. on 3/21/2017 (the “Status Hearing Date”). Counsel for plaintiff(s)
and for each defendant that has been served with process or has appeared at least 28 days before that
Status Hearing Date are ordered to meet not later than 14 days before the Status Hearing Date to
comply with the provisions of Rules 26(f) and 26(a)(c) and this District Court’s Local Rule 26.1.
Counsel for the parties are urged to undertake serious settlement efforts before the scheduled Status
Hearing when no major investment in counsel’s time (and client’s money) has yet taken place. If
such efforts are unsuccessful, counsel should be prepared to attend the scheduled Status Hearing to
discuss briefly their proposed discovery plan and other subjects appropriate for inclusion in the
scheduling order as referred to in Rule 16(b).
         The parties must file a joint initial status report with the content described in Judge Durkin’s
website (http://www.ilnd.uscourts.gov/home/JudgeInfo.aspx) at least four business days before the
initial status hearing.
         If any party is unrepresented by counsel, that party must comply with this order personally.
If defendant(s) have not been served, plaintiff’s counsel is to contact this Court’s courtroom deputy
at 312-435-6870 to reschedule the status hearing. A status report should not be filed if defendant(s)
have not been served.



Date: 1/11/2017                                         /s/ Thomas M. Durkin
